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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         UNITED STATES OF AMERICA,
                                   7                                                         Case No. 21-CR-0429 YGR
                                                        Plaintiff,
                                   8
                                                  v.                                         PROCEDURAL STIPULATIONS
                                   9                                                         (EXHIBIT A TO PRETRIAL ORDER)
                                         RAY GARCIA,
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13   PLEASE INITIAL AND SIGN as acceptable:

                                  14   It is stipulated that the Defendant will be deemed present with counsel, and each of the jurors will
                                       be deemed present, upon reconvening after each adjournment or recess, unless the contrary is
                                  15   noted for the record.
                                                                    /s/ AJP
                                                 For the Plaintiff ______________                             /s/ JTR
                                                                                          For the Defendant _____________
                                  16

                                  17   It is stipulated that the Jury Instructions and the Exhibits may go into the Jury Room during
                                       deliberations.
                                  18                                /s/ AJP
                                                 For the Plaintiff ______________                                /s/ JTR
                                                                                             For the Defendant _____________

                                  19   It is stipulated that the parties need not be present when, during jury deliberations, the jurors are
                                       excused for lunch, return for lunch, and/or are discharged in the evening and resume in the
                                  20
                                       morning.
                                  21                                /s/ AJP
                                                 For the Plaintiff ______________                                /s/ JTR
                                                                                             For the Defendant _______________

                                  22   It is stipulated that, during jury deliberations, the jury may recess without further admonition and
                                       without assembling in the jury box, and that they may resume their deliberations upon the Deputy
                                  23   Clerk’s determination that all jurors are present.
                                                                    /s/ AJP
                                                 For the Plaintiff ______________                                /s/ JTR
                                                                                              For the Defendant _____________
                                  24

                                  25
                                                     United States of America
                                       (Party Name) ______________________                              Ray J. Garcia
                                                                                          (Party Name) _________________________
                                  26
                                         /s/ Andrew Paulson
                                       __________________________________                   /s/ James T. Reilly
                                                                                          ________________________________
                                  27        Signature (Plaintiff’s Attorney)                     Signature (Defense Attorney)
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